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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                   Plaintiff,                                  4:14CR3114
      vs.
                                                                  ORDER
SONIA HERNANDEZ,
                   Defendant.


      Defendant has moved to continue the trial currently set for October 17, 2016.
(Filing No. 151). As explained in the motion, Defendant is currently being held in
custody on federal charges in the Western District of New York. The motion to continue
is unopposed. Based on the showing set forth in the motion, the court finds the motion
should be granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant’s motion to continue, (Filing No. 151), is granted.

      2)     Trial of this case is set to commence before the Honorable John M.
             Gerrard, United States District Judge, in Courtroom 1, United States
             Courthouse, Lincoln, Nebraska, at 9:00 a.m. on December 12, 2016, or as
             soon thereafter as the case may be called, for a duration of five (5) trial
             days. Jury selection will be held at commencement of trial.

      3)     Based upon the showing set forth in the defendant’s motion and the
             representations of counsel, the Court further finds that the ends of justice
             will be served by continuing the trial; and that the purposes served by
             continuing the trial date in this case outweigh the interest of the defendant
             and the public in a speedy trial. Accordingly,

             a.     The additional time arising as a result of the granting of the motion,
                    the time between today’s date and December 12, 2016, shall be
                    deemed excludable time in any computation of time under the
                    requirements of the Speedy Trial Act, because although counsel have
                    been duly diligent, additional time is needed to adequately prepare this
                    case for trial and failing to grant additional time might result in a
                    miscarriage of justice. 18 U.S.C. § 3161(h)(1) & (h)(7).
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           b.    Failing to timely file an objection to this order as provided in the
                 local rules of this court will be deemed a waiver of any right to later
                 claim the time should not have been excluded under the Speedy Trial
                 Act.


           October 4, 2016.

                                             BY THE COURT:
                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge




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